Case 1:03-cr-10009-.]DT Document 118 Filed 08/29/05 Page 1 of 3 Page|D 103

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UNITED sTATEs oF AMERICA ’/ d%?g% 3
vs. cr.1.03-cR-10009-@0“§%

ARKADY VOLOSHIN,

Defendant.

ORDER ON CHANGE OF PLEA
This cause came on to be heard on August 26, 2005,
Assistant U. S. Attorney R. Leigh Grinalds, appearing for the
government, and the defendant appeared in person and with counsel,
Clifton Harviel and Donald R. Wager, who are retained.
With leave of the Court, the defendant withdrew the Not
Guilty Plea heretofore entered and entered a plea of GUILTY as
charged in Count l of the Indictment.
This case has been set for sentencing on TUESDAYl
NOVEMBER 15, 2005, AT 1:15 P.M.
The defendant is to remain on his preset bond.

IT IS SO ORDERED.

JAM D. TODD
UNI D STATES DISTRICT JUDGE

DATE; 319 QM,ZW ;L¢'DS/

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Richard M. Asche
LITMAN ASCHE & GIOIELLA

45 Broadway
NeW York7 NY 10006

J ames P. Walsh

MCKENNA LONG & ALDRlDGE
444 S. FloWer St.

Los Angeles7 CA 90071--290

Donald R. Wager

LAW OFFICES OF DONALD R. WAGER
10100 Santa Monica Blvd.

Los Angeles7 CA 90067

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Barry L. Greenhalgh

LAW OFFICES OF BARRY L. GREENHALGH
16633 Ventura Blvd., # 1005

Encino7 CA 91436

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

1\/1emphis7 TN 38103

Stuart Goldfarb

BARRY L. GREENHALGH LAW OFFICES
16633 Ventura Blvd.

Encino7 CA 91436

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Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/1emphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

